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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

  UNITED STATES OF AMERICA,                   )
                                              )
                        Plaintiff,            )
                                              )
         v.                                   )       Cause No. 2:08CR2-PPS
                                              )
 STEVEN RICE,                                 )
                                              )
                        Defendant.            )

                                     OPINION AND ORDER

         On January 20, 2009, Steven Rice pled guilty to two counts of bank robbery and one

 count charging the use of a firearm during and in relation to one of the bank robberies. [DE 241].

 Rice was later sentenced to an aggregate prison term of 147 months, to be followed by a three-

 year term of supervised release. [DE 289]. The judgment also imposes restitution in the amount

 of $29,880.00, which Rice owes jointly and severally with specified co-defendants. [DE 289, pp.

 6-7]. The judgment has this to say about when and how the restitution is to be paid:

         The restitution obligation shall be paid in full immediately. In the event that the
         restitution cannot be paid in full, the remaining restitution shall be paid at a
         minimum rate of $40.00 per month commencing 30 days after placement on
         supervision until said amount is paid in full. The restitution shall be paid in a
         joint and several manner. The defendant shall make restitution payments from any
         wages earned in prison in accordance with the Bureau of Prisons Financial
         Responsibility Program. Any portion of the restitution that is not paid in full at
         the time of the defendant’s release from imprisonment shall become a condition
         of supervision.

 Id. at 7.

         Steven Rice, currently an inmate at FCI Bennettsville, South Carolina, has filed a motion

 for modification of the restitution schedule pursuant to 18 U.S.C. §3664(k). [DE 385]. Rice

 indicates that his prison account is being hard-hit by payments toward his restitution. Rice asks
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 me to order that he does not need to make restitution payments until he gets out of prison. Such

 payments are provided for in the judgment, to begin 30 days after Rice is released from prison

 and starts his term of supervised release. Apparently, prison authorities are acting on the basis of

 the judgment’s language providing for restitution payments to be taken from prison wages in

 accordance with the Bureau of Prisons’ Inmate Financial Responsibility Program. Almost a year

 ago, I granted a similar request from Steven’s brother and co-defendant, Stefen Rice, and the

 motion now before me is largely based on the language of my order. [DE 359]. For the same

 reasons, Steven’s motion will now be granted.

        The authority of sentencing courts to amend a sentence previously imposed is very

 limited. But in this instance, I find two bases for modifying the judgment to delete the

 requirement of restitution payments being made from any prison wages via the IFRP. First, 18

 U.S.C. §3664(k) authorizes a sentencing court to adjust a restitution payment schedule when the

 court is notified of a material change in a defendant’s economic circumstances, “as the interests

 of justice require.” Second, the judgment’s inclusion of the requirement of payments from any

 prison wages pursuant to the IFRP was plain error, as explained in subsequent decisions of the

 Seventh Circuit Court of Appeals.

        Federal inmates’ participation in the Inmate Financial Responsibility Program is

 voluntary: “an inmate in the Bureau of Prisons’ custody may lose certain privileges by not

 participating in the IFRP, but the inmate’s participation cannot be compelled.” United States v.

 Boyd, 608 F.3d 331, 334 (7th Cir. 2010). The Seventh Circuit therefore found a judgment

 requiring participation to be erroneous:

        The court overstepped its bounds when it ordered [defendant] to participate in the
        IFRP. We conclude that this error was plain. That term of the judgment cannot

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        be enforced as written, and the Bureau of Prisons cannot look to it as authority for
        compelling [defendant] to participate in the IFRP. [Defendant’s] participation,
        like that of all imprisoned defendants, must remain voluntary, though subject to
        the loss of privileges identified in 28 C.F.R. §545.11(d).

 Id. at 335. See also United States v. Munoz, 510 F.3d 989, 997 (7th Cir. 2010). I now realize I

 erred in including the provision about wage payments under the IFRP in Rice’s judgment. And

 on the basis of Rice’s motion, I conclude that his limited financial resources while in prison do

 not reasonably support a requirement of monthly payments toward restitution while he is

 incarcerated.

        ACCORDINGLY:

        Steven Rice’s motion for modification of the restitution payment schedule [DE 385] is

 GRANTED pursuant to 18 U.S.C. §3664(k). Steven Rice is not required to make payments

 toward his restitution obligation while imprisoned, and minimum monthly payments are required

 to commence 30 days after his placement on supervision, as provided for in the Judgment dated

 April 28, 2009 [DE 289].

        In addition to the copy to be served upon defendant Steven Rice, the Clerk shall provide

 a copy of this order to the Warden of the Bureau of Prisons institution where Steven Rice is

 currently incarcerated.

        SO ORDERED.

        ENTERED: September 6, 2012

                                              s/ Philip P. Simon
                                              CHIEF JUDGE
                                              UNITED STATES DISTRICT COURT




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